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UNITED STATES DISTRICT eourt™ JUN 6 AMT 09

 

FOR THE MIDDLE DISTRICT OF FLORID | DISTRICT COURT
ORLANDO DIVISION “IDOLE DISTRICT OF FL. Qe
GRE ANDO FLORIDA
FEDERAL TRADE COMMISSION,
Plaintiff, Case No. 19-cv-1028-40LRH
Vv.

FIRST CHOICE HORIZON LLC, a Florida

limited liability company,

FIRST SOUTHERN TRUST LLC, a Florida

limited liability company,

[FILED UNDER SEAL]

FIRST UNITED MUTUAL LLC, a Florida
limited liability company,

PREMIER UNION TRUST LLC, also dba
SECOND CHOICE HORIZON, a Florida limited
liability company,

SOUTH PREMIER TRUST LLC, a Florida
limited liability company,

SUNCOAST MUTUAL LLC, a Florida limited
liability company,

RAYMOND GONZALEZ, individually and as a
member, manager, or owner of FIRST CHOICE
HORIZON LLC,

CARLOS 8. GUERRERO, a/k/a Carlos Sinencio
Guerrero, also dba CSG SOLUTIONS,
individually, and as an officer, member, manager,
or owner of FIRST CHOICE HORIZON LLC
and FIRST UNITED MUTUAL LLC, and

JOSHUA HERNANDEZ, individually, and as a
member, manager, or owner of SOUTH

PREMIER TRUST LLC,

Defendants.

 

 

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TEMPORARY RESTRAINING ORDER

Plaintiff, the Federal Trade Commission (the “FTC”), has filed its Complaint for
Permanent Injunction and Other Equitable Relief pursuant to Section 13(b) of the Federal
Trade Commission Act (“FTC Act”), 15 U.S.C. § 53(b), and the Telemarketing and
Consumer Fraud and Abuse Prevention Act (“Telemarketing Act”), 15 U.S.C. §§ 6101-6108,
and has moved, pursuant to Federal Rule of Civil Procedure 65(b), for a temporary
restraining order, asset freeze, appointment of a temporary receiver, other equitable relief,
and an order to show cause why a preliminary injunction should not issue against First
Choice Horizon LLC, First Southern Trust LLC, First United Mutual LLC, Premier Union
Trust LLC, South Premier Trust LLC, and Suncoast Mutual LLC, Carlos S. Guerrero,
Raymond Gonzalez, and Joshua Hernandez.

The Court, having considered the Complaint, the ex parte Motion for a Temporary
Restraining Order, and all declarations, exhibits, and the memorandum of points and
authorities filed in support thereof, and being otherwise advised, GRANTS the FTC’s
Motion for a Temporary Restraining Order and FINDS and ORDERS as follows:

FINDINGS

A. The Court has jurisdiction over the subject matter of this case, and there is
good cause to believe that it will have jurisdiction over all parties hereto and that venue in
this district is proper.

B. In numerous instances, Defendants have engaged in deceptive or unfair acts or
practices in connection with the marketing, promotion, offering for sale, or sale of their credit

card interest rate reduction service (““Defendants’ service” or the “service”) in violation of
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Section 5(a) of the FTC Act, 15 U.S.C. § 45(a), and the FTC’s Telemarketing Sales Rule, 16
C.F.R. Part 310.

C. There is good cause to believe that Defendants have engaged in and are likely
to engage in acts or practices that violate Section 5(a) of the FTC Act, 15 U.S.C. § 45(a), and
the Telemarketing Sales Rule (“TSR”), 16 C.F.R. Part 310, and that the FTC is therefore
likely to prevail on the merits of this action. As demonstrated by the numerous consumer
declarations, and the declarations of an FTC investigator, an FTC forensic accountant, the
Better Business Bureau, and a credit card industry expert, the FTC has established a
likelihood of success in showing that, since at least May 2016:

1. Defendants have engaged in an illegal telemarketing scheme to sell their
service to financially distressed consumers;

2. Defendants induce the sale of their service by making numerous material
misrepresentations, including, but not limited to, that Defendants will lower
consumers’ credit card interest rates permanently to zero percent until their
debt is paid off and save the consumers thousands of dollars on their credit
card debt;

3. Defendants have applied for one or more credit cards for consumers without
the consumers’ knowledge, authorization, or express informed consent.

D. There is good cause to believe that immediate and irreparable harm will result
from Defendants’ ongoing violations of the FTC Act and the TSR unless Defendants are

restrained and enjoined by order of this Court.
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E. There is good cause to believe that immediate and irreparable damage to the
Court’s ability to grant effective final relief for consumers — including monetary restitution,
rescission, disgorgement or refunds — will occur from the sale, transfer, destruction or other
disposition or concealment by Defendants of their assets or records, unless Defendants are
immediately restrained and enjoined by order of this Court; and that, in accordance with Fed.
R. Civ. P. 65(b) and Local Rule 4.05, the interests of justice require that this Order be granted
without prior notice to Defendants. Thus, there is good cause for relieving Plaintiff of the
duty to provide Defendants with prior notice of its Motion for a Temporary Restraining
Order.

F, Good cause exists for appointing a temporary receiver over the Receivership
Entities, freezing Defendants’ assets, permitting the Plaintiff and the Receiver immediate
access to the Defendants’ business premises, and permitting the Plaintiff and the Receiver to
take expedited discovery.

G. Weighing the equities and considering Plaintiff's likelihood of ultimate
success on the merits, a temporary restraining order with an asset freeze, the appointment of
a temporary receiver, immediate access to business premises, expedited discovery, and other
equitable relief is in the public interest.

H. This Court has authority to issue this Order pursuant to Section 13(b) of the
FTC Act, 15 U.S.C. § 53(b); Federal Rule of Civil Procedure 65; and the All Writs Act, 28
USS.C. § 1651.

I, No security is required of any agency of the United States for issuance of a

temporary restraining order. Fed. R. Civ. P. 65(c).
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DEFINITIONS

A. “Asset” means any legal or equitable interest in, right to, or claim to, any
property, wherever located and by whomever held.

B. “Corporate Defendant(s)” means First Choice Horizon LLC, First Southern
Trust LLC, First United Mutual LLC, Premier Union Trust LLC, South Premier Trust LLC,
and Suncoast Mutual LLC, and each of their subsidiaries, affiliates, successors, and assigns.

Cc. “Debt Relief Product or Service” means any product, service, plan, or
program represented, expressly or by implication, to renegotiate, settle, or in any way alter
the terms of payment or other terms of the debt or obligation between a consumer and one or
more creditors or debt collectors, including a reduction in the balance, interest rate, or fees
owed by a consumer to a creditor or debt collector.

D. “Defendant(s)” means the Corporate Defendants, Carlos S. Guerrero,
Raymond Gonzalez, and Joshua Hernandez, individually, collectively, or in any combination.

E. “Document” is synonymous in meaning and equal in scope to the usage of
“document” and “electronically stored information” in Federal Rule of Civil Procedure 34(a),
Fed. R. Civ. P. 34(a), and includes writings, drawings, graphs, charts, photographs, sound
and video recordings, images, Internet sites, web pages, websites, electronic correspondence,
including e-mail and instant messages, contracts, accounting data, advertisements, FTP Logs,
Server Access Logs, books, written or printed records, handwritten notes, telephone logs,
telephone scripts, receipt books, ledgers, personal and business canceled checks and check
registers, bank statements, appointment books, computer records, customer or sales databases

and any other electronically stored information, including Documents located on remote
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servers or cloud computing systems, and other data or data compilations from which
information can be obtained directly or, if necessary, after translation into a reasonably
usable form. A draft or non-identical copy is a separate document within the meaning of the
term.

F. “Electronic Data Host” means any person or entity in the business of storing,
hosting, or otherwise maintaining electronically stored information. This includes, but is not
limited to, any entity hosting a website or server, and any entity providing “cloud based”
electronic storage.

G. “Individual Defendant(s)” means Carlos S. Guerrero, Raymond Gonzalez,
and Joshua Hernandez, individually, collectively, or in any combination.

H. “National Do Not Call Registry” means the registry of telephone numbers
maintained by the FTC, pursuant to Section 310.4(b)(1)(iii)(B) of the TSR, 16 C.F.R. §
310.4(b)(1)Gii)(B), of persons who do not wish to receive Outbound Telephone Calls to
induce the purchase of goods or services.

I. “Outbound Telephone Call” means a telephone call initiated by a
Telemarketer to induce the purchase of goods or services or to solicit a charitable
contribution.

J. “Receiver” means the temporary receiver appointed in Section XIII of this
Order and any deputy receivers that shall be named by the temporary receiver.

K. “Receivership Entities” means Corporate Defendants as well as any other
entity that has conducted any business related to the marketing, promotion, offering for sale,

or sale of Defendants’ credit card interest rate reduction service, including receipt of Assets
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derived from any activity that is the subject of the Complaint in this matter, and that the
Receiver determines is controlled or owned by any Defendant.

L. “Remotely Created Payment Order” means any payment instruction or
order drawn on a person’s account that is created by the payee or the payee’s agent and
deposited into or cleared through the check clearing system. The term includes, without
limitation, a “remotely created check.” It also includes any check that is not created by the
paying bank and that does not bear a signature applied, or purported to be applied, by the
person on whose account the check is drawn.

M. “Telemarketer” means any person who, in connection with Telemarketing,
initiates or receives telephone calls to or from a customer or donor.

N, “Telemarketing” means any plan, program, or campaign that is conducted to
induce the purchase of goods or services or a charitable contribution by use of one or more
telephones.

ORDER
I. PROHIBITED MISREPRESENTATIONS AND OMISSIONS

IT IS THEREFORE ORDERED that Defendants, Defendants’ officers, agents,
employees, and attorneys, and all other persons in active concert or participation with them,
who receive actual notice of this Order by personal service or otherwise, whether acting
directly or indirectly, in connection with the advertising, marketing, promoting, or offering
for sale of any goods or services, are temporarily restrained and enjoined from
misrepresenting or assisting others in misrepresenting, expressly or by implication, any

material fact, including, but not limited to:
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A. Misrepresenting, or assisting others in misrepresenting, expressly or by implication,
any of the following:
1. That consumers who purchased Defendants’ service would have their credit
card interest rates permanently reduced to zero percent; and
2. That consumers who purchased Defendants’ service would save thousands

of dollars on their credit card debt;

3. That consumers have ordered Defendants’ service;
4. That consumers owe money to Defendants for Defendants’ service; and
5. Any other fact material to consumers concerning any good or service, such as:

the total costs; any material restrictions, limitations or conditions; or any
material aspect of its performance, efficacy, nature, or central characteristics;
B. Representing, or assisting others in representing, expressly or by implication, the
benefits, performance, or efficacy of any good or service, unless the representation is
non-misleading, and, at the time such representation is made, Defendants possess and
rely upon competent and reliable evidence to substantiate that the representation is
true; and
C. Failing to disclose, or disclose adequately, the material terms and conditions of
Defendants’ offer, including that Defendants’ service may result in a consumer
having to pay a variety of fees to credit card issuers including, among others, balance

transfer fees, which can total up to five percent of a consumer’s credit card debt.
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II. PROHIBITED UNFAIR ACTS
IT IS FURTHER ORDERED that Defendants, Defendants’ officers, agents,
employees, and attorneys, and all other persons in active concert or participation with them,
who receive actual notice of this Order by personal service or otherwise, whether acting
directly or indirectly, in connection with the advertising, marketing, promoting, or offering
for sale of any goods or services, are temporarily restrained and enjoined from:
A. Making any application for a credit card on behalf of any consumers without
the consumers’ knowledge, authorization, or express informed consent; or
B. Submitting any application for a credit card on behalf of any consumers if
Defendants know or have reason to believe that any information on such
application is false or misleading.
Il. PROHIBITIONS REGARDING TELEMARKETING
IT IS FURTHER ORDERED that Defendants, Defendants’ officers, agents,
employees, and attorneys, and all other persons in active concert or participation with them,
who receive actual notice of this Order by personal service or otherwise, whether acting
directly or indirectly, in connection with Telemarketing of any product or service, including
any Debt Relief Product or Service, are temporarily restrained and enjoined from:
A. Initiating, or causing others to initiate, an Outbound Telephone Call:
l. That misrepresents, directly or by implication, any material aspect of any Debt
Relief Product or Service, including, but not limited to, the amount of
temporary or permanent credit card interest rate reduction that a consumer

may obtain, and the amount of money that a consumer may save by using
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such service;

That fails to disclose, in a clear and conspicuous manner, that any Debt Relief
Product or Service might result in a consumer having to pay additional fees to
a credit card issuer;

To a person whose telephone number is on the National Do Not Call Registry;
That delivers a prerecorded message; or

To a telephone number within a given area code when Defendants have not,
either directly or through another person, paid the required annual fee for
access to the telephone numbers within that area code that are included on the

National Do Not Call Registry;

B. Violating any provision of the Telemarketing Sales Rule, 16 C.F.R. Part 310,

including, but not limited to:

1.

IV.

Collected or attempting to collect payment for any Debt Relief Product or
Service, directly or indirectly, without the consumers’ express verifiable
authorization; or

Creating or causing to be created, directly or indirectly, a remotely created
check as payment for goods or services offered or sold through telemarketing.

PROHIBITION ON RELEASE OF CUSTOMER INFORMATION

IT IS FURTHER ORDERED that Defendants, Defendants’ officers, agents,

employees, and attorneys, and all other persons in active concert or participation with any of

them, who receive actual notice of this Order, whether acting directly or indirectly, are

hereby temporarily restrained and enjoined from:

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A. Selling, renting, leasing, transferring, or otherwise disclosing, the name,
address, birth date, telephone number, email address, credit card number, bank account
number, Social Security number, or other financial or identifying information of any person
that any Defendant obtained in connection with any activity that pertains to the subject matter
of this Order; and

B. Benefitting from or using the name, address, birth date, telephone number,
email address, credit card number, bank account number, Social Security number, or other
financial or identifying information of any person that any Defendant obtained in connection
with any activity that pertains to the subject matter of this Order.

Provided, however, that Defendants may disclose such identifying information to a
law enforcement agency, to their attorneys as required for their defense, as required by any
law, regulation, or court order, or in any filings, pleadings or discovery in this action in the
manner required by the Federal Rules of Civil Procedure and by any protective order in the
case.

V. | ASSET FREEZE

IT IS FURTHER ORDERED that Defendants and their officers, agents, employees,
and attorneys, and all other persons in active concert or participation with any of them, who
receive actual notice of this Order, whether acting directly or indirectly, are hereby
temporarily restrained and enjoined from:

A. Transferring, liquidating, converting, encumbering, pledging, loaning, selling,
concealing, dissipating, disbursing, assigning, relinquishing, spending, withdrawing, granting

a lien or security interest or other interest in, or otherwise disposing of any Assets that are:

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1. owned or controlled, directly or indirectly, by any Defendant;

2. held, in part or in whole, for the benefit of any Defendant;

3. in the actual or constructive possession of any Defendant; or

4, owned or controlled by, in the actual or constructive possession of, or
otherwise held for the benefit of, any corporation, partnership, asset
protection trust, or other entity that is directly or indirectly owned,
managed or controlled by any Defendant.

B. Opening or causing to be opened any safe deposit boxes, commercial mail
boxes, or storage facilities titled in the name of any Defendant or subject to access by any
Defendant, except as necessary to comply with written requests from the Receiver acting
pursuant to its authority under this Order;

C. Incurring charges or cash advances on any credit, debit, or ATM card issued
in the name, individually or jointly, of any Corporate Defendant or any corporation,
partnership, or other entity directly or indirectly owned, managed, or controlled by any
Defendant or of which any Defendant is an officer, director, member, or manager. This
includes any corporate bankcard or corporate credit card account for which any Defendant is,
or was on the date that this Order was signed, an authorized signer; or

D. Cashing any checks or depositing any money orders or cash received from
consumers, clients, or customers of any Defendant.

The Assets affected by this Section shall include: (1) all Assets of Defendants as of
the time this Order is entered; and (2) Assets obtained by Defendants after this Order is

entered if those Assets are derived from any activity that is the subject of the Complaint in

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this matter or that is prohibited by this Order. This Section does not prohibit any transfers to
the Receiver or repatriation of foreign Assets specifically required by this order.

VI. DUTIES OF ASSET HOLDERS AND OTHER THIRD PARTIES

IT IS FURTHER ORDERED that any financial or brokerage institution, Electronic
Data Host, credit card processor, payment processor, merchant bank, acquiring bank,
independent sales organization, third party processor, payment gateway, insurance company,
business entity, or person who receives actual notice of this Order (by service or otherwise)
that:

(a) has held, controlled, or maintained custody, through an account or otherwise, of
any Document on behalf of any Defendant or any Asset that has been: owned or controlled,
directly or indirectly, by any Defendant; held, in part or in whole, for the benefit of any
Defendant; in the actual or constructive possession of any Defendant; or owned or controlled
by, in the actual or constructive possession of, or otherwise held for the benefit of, any
corporation, partnership, asset protection trust, or other entity that is directly or indirectly
owned, managed or controlled by any Defendant;

(b) has held, controlled, or maintained custody, through an account or otherwise, of
any Document or Asset associated with credits, debits or charges made on behalf of any
Defendant, including reserve funds held by payment processors, credit card processors,
merchant banks, acquiring banks, independent sales organizations, third party processors,
payment gateways, insurance companies, or other entities; or

(c) has extended credit to any Defendant, including through a credit card account,

shall:

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A. Hold, preserve, and retain within its control and prohibit the withdrawal,
removal, alteration, assignment, transfer, pledge, encumbrance, disbursement, dissipation,
relinquishment, conversion, sale, or other disposal of any such Document or Asset, as well as
all Documents or other property related to such Assets, except by further order of this Court;
provided, however, that this provision does not prohibit an Individual Defendant from
incurring charges on a personal credit card established prior to entry of this Order, up to the
pre-existing credit limit;

B. Deny any person, except the Receiver, access to any safe deposit box,

‘commercial mail box, or storage facility that is titled in the name of any Defendant, either
individually or jointly, or otherwise subject to access by any Defendant;

C. Provide the FTC’s counsel and the Receiver, within three (3) days of
receiving a copy of this Order, a sworn statement setting forth, for each Asset or account
covered by this Section:

1, The identification number of each such account or Asset;

2. The balance of each such account, or a description of the nature and
value of each such Asset as of the close of business on the day on
which this Order is served, and, if the account or other Asset has been
closed or removed, the date closed or removed, the total funds
removed in order to close the account, and the name of the person or
entity to whom such account or other Asset was remitted; and

3. The identification of any safe deposit box, commercial mail box, or

storage facility that is either titled in the name, individually or jointly,

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of any Defendant, or is otherwise subject to access by any Defendant;
and

Dz. Upon the request of the FTC’s counsel or the Receiver, promptly provide the
FTC’s counsel and the Receiver with copies of all records or other Documents pertaining to
each account covered by this Section or Asset, including originals or copies of account
applications, account statements, signature cards, checks, drafts, deposit tickets, transfers to
and from the accounts, including wire transfers and wire transfer instructions, all other debit
and credit instruments or slips, currency transaction reports, 1099 forms, and all logs and
records pertaining to safe deposit boxes, commercial mail boxes, and storage facilities.

Provided, however, that this Section does not prohibit any transfers to the Receiver or
repatriation of foreign Assets specifically required by this order.

VII. FINANCIAL DISCLOSURES

IT IS FURTHER ORDERED that each Defendant, within five (5) days of service of
this Order upon them, shall prepare and deliver to the FTC’s counsel and the Receiver:

A. Completed financial statements on the forms attached to this Order as
Attachment A (Financial Statement of Individual Defendant) for each Individual Defendant,
and Attachment B (Financial Statement of Corporate Defendant) for each Corporate
Defendant; and

B. Completed Attachment C (IRS Form 4506, Request for Copy of a Tax

Return) for each Individual and Corporate Defendant.

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VII. FOREIGN ASSET REPATRIATION

IT IS FURTHER ORDERED that within five (5) days following the service of this
Order, each Defendant shall:

A. Provide the FTC’s counsel and the Receiver with a full accounting, verified
under oath and accurate as of the date of this Order, of all Assets, Documents, and accounts
outside of the United States which are: (1) titled in the name, individually or jointly, of any
Defendant; (2) held by any person or entity for the benefit of any Defendant or for the benefit
of, any corporation, partnership, asset protection trust, or other entity that is directly or
indirectly owned, managed or controlled by any Defendant; or (3) under the direct or indirect
control, whether jointly or singly, of any Defendant;

B. Take all steps necessary to provide the FTC’s counsel and Receiver access to
all Documents and records that may be held by third parties located outside of the territorial
United States of America, including signing the Consent to Release of Financial Records
appended to this Order as Attachment D.

C. Transfer to the territory of the United States and all Documents and Assets
located in foreign countries which are: (1) titled in the name, individually or jointly, of any
Defendant; (2) held by any person or entity for the benefit of any Defendant or for the benefit
of, any corporation, partnership, asset protection trust, or other entity that is directly or
indirectly owned, managed or controlled by any Defendant; or (3) under the direct or indirect
control, whether jointly or singly, of any Defendant; and

Dz. The same business day as any repatriation, (1) notify the Receiver and counsel

for the FTC of the name and location of the financial institution or other entity that is the

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recipient of such Documents or assets; and (2) serve this Order on any such financial
institution or other entity.
IX. NON-INTERFERENCE WITH REPATRIATION

IT IS FURTHER ORDERED that Defendants, Defendants’ officers, agents,
employees, and attorneys, and all other persons in active concert or participation with any of
them, who receive actual notice of this Order, whether acting directly or indirectly, are
hereby temporarily restrained and enjoined from taking any action, directly or indirectly,
which may result in the encumbrance or dissipation of foreign Assets, or in the hindrance of
the repatriation required by this Order, including, but not limited to:

A, Sending any communication or engaging in any other act, directly or
indirectly, that results in a determination by a foreign trustee or other entity that a “duress”
event has occurred under the terms of a foreign trust agreement until such time that all
Defendants’ Assets have been fully repatriated pursuant to this Order; or

B. Notifying any trustee, protector or other agent of any foreign trust or other
related entities of either the existence of this Order, or of the fact that repatriation is required
pursuant to a court order, until such time that all Defendants’ Assets have been fully
repatriated pursuant to this Order.

X. CONSUMER CREDIT REPORTS

IT IS FURTHER ORDERED that the FTC may obtain credit reports concerning
any Defendants pursuant to Section 604(a)(1) of the Fair Credit Reporting Act, 15 U.S.C.

§ 1681b(a)(1), and that, upon written request, any credit reporting agency from which such

reports are requested shall provide them to the FTC.

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XI. PRESERVATION OF RECORDS

IT IS FURTHER ORDERED that Defendants, Defendants’ officers, agents,
employees, and attorneys, and all other persons in active concert or participation with any of
them, who receive actual notice of this Order, whether acting directly or indirectly, are
hereby temporarily restrained and enjoined from:

A. Destroying, erasing, falsifying, writing over, mutilating, concealing, altering,
transferring, or otherwise disposing of, in any manner, directly or indirectly, Documents that
relate to: (1) the business, business practices, Assets, or business or personal finances of any
Defendant; (2) the business practices or finances of entities directly or indirectly under the
control of any Defendant; or (3) the business practices or finances of entities directly or
indirectly under common control with any other Defendant; and

B. Failing to create and maintain Documents that, in reasonable detail,
accurately, fairly, and completely reflect Defendants’ incomes, disbursements, transactions,
and use of Defendants’ Assets.

XII. REPORT OF NEW BUSINESS ACTIVITY

IT IS FURTHER ORDERED that Defendants, Defendants’ officers, agents,
employees, and attorneys, and all other persons in active concert or participation with any of
them, who receive actual notice of this Order, whether acting directly or indirectly, are
hereby temporarily restrained and enjoined from creating, operating, or exercising any
control over any business entity, whether newly formed or previously inactive, including any
partnership, limited partnership, joint venture, sole proprietorship, or corporation, without

first providing the FTC’s counsel and the Receiver with a written statement disclosing: (1)

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the name of the business entity; (2) the address and telephone number of the business entity;
(3) the names of the business entity’s officers, directors, principals, managers, and
employees; and (4) a detailed description of the business entity’s intended activities.

XII. TEMPORARY RECEIVER

IT IS FURTHER ORDERED that Mark J. Bernet, Esq., is appointed as temporary
receiver of the Receivership Entities with full powers of an equity receiver. The Receiver
shall be solely the agent of this Court in acting as Receiver under this Order.

XIV. DUTIES AND AUTHORITY OF RECEIVER

IT IS FURTHER ORDERED that the Receiver is immediately empowered,
directed, and authorized to accomplish the following:

A. Assume full control of the Receivership Entities by removing, as the Receiver
deems necessary or advisable, any director, officer, independent contractor, employee,
attorney, or agent of any Receivership Entity from control of, management of, or
participation in, the affairs of the Receivership Entity;

B. Take exclusive custody, control, and possession of all Assets and Documents
of, or in the possession, custody, or under the control of, any Receivership Entity, wherever
situated;

C. Take exclusive custody, control, and possession of all Documents or Assets
associated with credits, debits, or charges made on behalf of any Receivership Entity,
wherever situated, including reserve funds held by payment processors, credit card
processors, merchant banks, acquiring banks, independent sales organizations, third party

processors, payment gateways, insurance companies, or other entities;

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D. Conserve, hold, manage, and prevent the loss of all Assets of the Receivership
Entities, and perform all acts necessary or advisable to preserve the value of those Assets.
The Receiver shall assume control over the income and profits therefrom and all sums of
money now or hereafter due or owing to the Receivership Entities. The Receiver shall have
full power to sue for, collect, and receive, all Assets of the Receivership Entities and of other
persons or entities whose interests are now under the direction, possession, custody, or
control of, the Receivership Entities. Provided, however, that the Receiver shall not attempt
to collect any amount from a consumer if the Receiver believes the consumer’s debt to the
Receivership Entities has resulted from the deceptive acts or practices or other violations of
law alleged in the Complaint in this matter, without prior Court approval;

E. Obtain, conserve, hold, manage, and prevent the loss of all Documents of the
Receivership Entities, and perform all acts necessary or advisable to preserve such
Documents. The Receiver shall: divert mail; preserve all Documents of the Receivership
Entities that are accessible via electronic means (such as online access to financial accounts
and access to electronic documents held onsite or by Electronic Data Hosts, by changing
usernames, passwords or other log-in credentials; take possession of all electronic
Documents of the Receivership Entities stored onsite or remotely; take whatever steps
necessary to preserve all such Documents; and obtain the assistance of the FTC’s Digital
Forensic Unit for the purpose of obtaining electronic documents stored onsite or remotely.

F, Choose, engage, and employ attorneys, accountants, appraisers, and other

independent contractors and technical specialists, as the Receiver deems advisable or

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necessary in the performance of duties and responsibilities under the authority granted by this
Order;

G. Make payments and disbursements from the receivership estate that are
necessary or advisable for carrying out the directions of, or exercising the authority granted
by, this Order, and to incur, or authorize the making of, such agreements as may be necessary
and advisable in discharging his or her duties as Receiver. The Receiver shall apply to the
Court for prior approval of any payment of any debt or obligation incurred by the
Receivership Entities prior to the date of entry of this Order, except payments that the
Receiver deems necessary or advisable to secure Assets of the Receivership Entities, such as
rental payments;

H. Take all steps necessary to secure and take exclusive custody of each location
from which the Receivership Entities operate their businesses. Such steps may include, but
are not limited to, any of the following, as the Receiver deems necessary or advisable: (1)
securing the location by changing the locks and alarm codes and disconnecting any internet
access or other means of access to the computers, servers, internal networks, or other records
maintained at that location; and (2) requiring any persons present at the location to leave the
premises, to provide the Receiver with proof of identification, and/or to demonstrate to the
satisfaction of the Receiver that such persons are not removing from the premises Documents
or Assets of the Receivership Entities. Law enforcement personnel, including, but not
limited to, police or sheriffs, may assist the Receiver in implementing these provisions in

order to keep the peace and maintain security. If requested by the Receiver, the United States

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Marshal will provide appropriate and necessary assistance to the Receiver to implement this
Order and is authorized to use any necessary and reasonable force to do so;

I, Take all steps necessary to prevent the modification, destruction, or erasure of
any web page or website registered to and operated, in whole or in part, by any Defendants,
and to provide access to all such web page or websites to the FTC’s representatives, agents,

and assistants, as well as Defendants and their representatives;

J. Enter into and cancel contracts and purchase insurance as advisable or
necessary;
K. Prevent the inequitable distribution of Assets and determine, adjust, and

protect the interests of consumers who have transacted business with the Receivership
Entities;

L. Make an accounting, as soon as practicable, of the Assets and financial
condition of the receivership and file the accounting with the Court and deliver copies thereof
to all parties;

M. Institute, compromise, adjust, appear in, intervene in, defend, dispose of, or
otherwise become party to any legal action in state, federal or foreign courts or arbitration
proceedings as the Receiver deems necessary and advisable to preserve or recover the Assets
of the Receivership Entities, or to carry out the Receiver’s mandate under this Order,
including but not limited to, actions challenging fraudulent or voidable transfers;

N. Issue subpoenas to obtain Documents and records pertaining to the
Receivership, and conduct discovery in this action on behalf of the receivership estate, in

addition to obtaining other discovery as set forth in this Order;

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0. Open one or more bank accounts at designated depositories for funds of the
Receivership Entities. The Receiver shall deposit all funds of the Receivership Entities in
such designated accounts and shall make all payments and disbursements from the
receivership estate from such accounts. The Receiver shall serve copies of monthly account

statements on all parties;

P. Maintain accurate records of all receipts and expenditures incurred as
Receiver;
Q. Allow the FTC’s representatives, agents, and assistants, as well as

Defendants’ representatives and Defendants themselves, reasonable access to the premises of
the Receivership Entities, or any other premises where the Receivership Entities conduct
business. The purpose of this access shall be to inspect and copy all books, records,
Documents, accounts, and other assets owned by, or in the possession of, the Receivership
Entities or their agents. The Receiver shall have the discretion to determine the time,
manner, and reasonable conditions of such access, and access by the FTC’s representatives,
agents, and assistants shall be allowed as soon as practicable;

R. Allow, as soon as practicable, the FTC’s representatives, agents, and
assistants, as well as Defendants and their representatives, reasonable access to all
Documents in the possession, custody, or control of the Receivership Entities;

S. Cooperate with reasonable requests for information or assistance from any
state or federal civil or criminal law enforcement agency;

T. Suspend business operations of the Receivership Entities if, in the judgment of

the Receiver, such operations cannot be continued legally and profitably;

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U. File timely reports with the Court at reasonable intervals, or as otherwise
directed by the Court;

V. If the Receiver identifies a nonparty entity as a Receivership Entity, promptly
notify the entity as well as the parties, and inform the entity that it can challenge the
Receiver’s determination by filing a motion with the Court. Provided, however, that the
Receiver may delay providing such notice until the Receiver has established control of the
nonparty entity and its assets and records, if the Receiver determines that notice to the entity
or the parties before the Receiver establishes control over the entity may result in the
destruction of records, dissipation of assets, or any other obstruction of the Receiver’s control
of the entity; and |

W. If in the Receiver’s judgment the business operations cannot be continued
legally and profitably, take all steps necessary to ensure that any of the Receivership Entities’
web pages or websites relating to the activities alleged in the Complaint cannot be accessed
by the public, or are modified for consumer education and/or informational purposes, and
take all steps necessary to ensure that any telephone numbers associated with the
Receivership Entities cannot be accessed by the public, or are answered solely to provide
consumer education or information regarding the status of operations.

XV. TRANSFER OF RECEIVERSHIP PROPERTY TO RECEIVER

IT IS FURTHER ORDERED that Defendants or Defendants’ officers, agents,
employees, and attorneys, all other persons in active concert or participation with any of
them, and any other person with possession, custody or control of property of, or records

relating to, the Receivership Entities shall, upon notice of this Order by personal service or

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otherwise, fully cooperate with and assist the Receiver in taking and maintaining possession,
custody, or control of the Assets and Documents of the Receivership Entities and
immediately transfer or deliver to the Receiver possession, custody, and control of, the
following:

A. All Assets held by or for the benefit of the Receivership Entities;

B. All Documents or Assets associated with credits, debits, or charges made on
behalf of any Receivership Entity, wherever situated, including reserve funds held by
payment processors, credit card processors, merchant banks, acquiring banks, independent
sales organizations, third party processors, payment gateways, insurance companies, or other
entities

C, All Documents of or pertaining to the Receivership Entities;

D. All computers, electronic devices, mobile devices and machines used to
conduct the business of the Receivership Entities;

E. All Assets and Documents belonging to other persons or entities whose
interests are under the direction, possession, custody, or control of the Receivership Entities;
and

F. All keys, codes, user names and passwords necessary to gain or to secure
access to any Assets or Documents of or pertaining to the Receivership Entities, including
access to their business premises, means of communication, accounts, computer systems
(onsite and remote), Electronic Data Hosts, or other property.

In the event that any person or entity fails to deliver or transfer any asset or

Document, or otherwise fails to comply with any provision of this Section, the Receiver may

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file an Affidavit of Non-Compliance regarding the failure and a motion seeking compliance
or a contempt citation.
XVI. PROVISION OF INFORMATION TO RECEIVER

IT IS FURTHER ORDERED that Defendants shall immediately provide to the
Receiver:

A. A list of all Assets and accounts of the Receivership Entities that are held in
any name other than the name of a Receivership Entity, or by any person or entity other than
a Receivership Entity;

B. A list of all agents, employees, officers, attorneys, servants and those persons
in active concert and participation with the Receivership Entities, or who have been
associated or done business with the Receivership Entities; and

C. A description of any documents covered by attorney-client privilege or
attorney work product, including files where such documents are likely to be located, authors
or recipients of such documents, and search terms likely to identify such electronic
documents.

XVII. COOPERATION WITH THE RECEIVER

IT IS FURTHER ORDERED that Defendants; Receivership Entities; Defendants’
or Receivership Entities’ officers, agents, employees, and attorneys, all other persons in
active concert or participation with any of them, and any other person with possession,
custody, or control of property of or records relating to the Receivership Entities who receive
actual notice of this Order shall fully cooperate with and assist the Receiver. This

cooperation and assistance shall include, but is not limited to, providing information to the

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Receiver that the Receiver deems necessary to exercise the authority and discharge the
responsibilities of the Receiver under this Order; providing any keys, codes, user names and
passwords required to access any computers, electronic devices, mobile devices, and
machines (onsite or remotely) and any cloud account (including specific method to access
account) or electronic file in any medium; advising all persons who owe money to any
Receivership Entity that all debts should be paid directly to the Receiver; and transferring
funds at the Receiver’s direction and producing records related to the Assets and sales of the
Receivership Entities.

XVIII. NON-INTERFERENCE WITH THE RECEIVER

IT IS FURTHER ORDERED that Defendants; Receivership Entities; Defendants’
or Receivership Entities’ officers, agents, employees, attorneys, and all other persons in
active concert or participation with any of them, who receive actual notice of this Order, and
any other person served with a copy of this Order, are hereby restrained and enjoined from
directly or indirectly:

A. Interfering with the Receiver’s efforts to manage, or take custody, control, or
possession of, the Assets or Documents subject to the receivership;

B. Transacting any of the business of the Receivership Entities;

C. Transferring, receiving, altering, selling, encumbering, pledging, assigning,
liquidating, or otherwise disposing of any Assets owned, controlled, or in the possession or
custody of, or in which an interest is held or claimed by, the Receivership Entities; or

D. Refusing to cooperate with the Receiver or the Receiver’s duly authorized

agents in the exercise of their duties or authority under any order of this Court.

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XIX. STAY OF ACTIONS

IT IS FURTHER ORDERED that, except by leave of this Court, during the
pendency of the receivership ordered herein, Defendants, Defendants’ officers, agents,
employees, attorneys, and all other persons in active concert or participation with any of
them, who receive actual notice of this Order, and their corporations, subsidiaries, divisions,
or affiliates, and all investors, creditors, stockholders, lessors, customers and other persons
seeking to establish or enforce any claim, right, or interest against or on behalf of
Defendants, and all others acting for or on behalf of such persons, are hereby enjoined from
taking action that would interfere with the exclusive jurisdiction of this Court over the Assets
or Documents of the Receivership Entities, including, but not limited to:

A. Filing or assisting in the filing of a petition for relief under the Bankruptcy
Code, 11 U.S.C. § 101 ef seq., or of any similar insolvency proceeding on behalf of the
Receivership Entities;

B. Commencing, prosecuting, or continuing a judicial, administrative, or other
action or proceeding against the Receivership Entities, including the issuance or employment
of process against the Receivership Entities, except that such actions may be commenced if
necessary to toll any applicable statute of limitations; or

C. Filing or enforcing any lien on any asset of the Receivership Entities, taking
or attempting to take possession, custody, or control of any Asset of the Receivership
Entities; or attempting to foreclose, forfeit, alter, or terminate any interest in any Asset of the
Receivership Entities, whether such acts are part of a judicial proceeding, are acts of self-

help, or otherwise;

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Provided, however, that this Order does not stay: (1) the commencement or
continuation of a criminal action or proceeding; (2) the commencement or continuation of an
action or proceeding by a governmental unit to enforce such governmental unit’s police or
regulatory power; or (3) the enforcement of a judgment, other than a money judgment,
obtained in an action or proceeding by a governmental unit to enforce such governmental
unit’s police or regulatory power.

XX. COMPENSATION OF RECEIVER

IT IS FURTHER ORDERED that the Receiver and all personnel hired by the
Receiver as herein authorized, including counsel to the Receiver and accountants, are entitled
to reasonable compensation for the performance of duties pursuant to this Order and for the
cost of actual out-of-pocket expenses incurred by them, from the Assets now held by, in the
possession or control of, or which may be received by, the Receivership Entities. The
Receiver shall file with the Court and serve on the parties periodic requests for the payment
of such reasonable compensation, with the first such request filed no more than sixty (60)
days after the date of entry of this Order. The Receiver shall not increase the hourly rates
used as the bases for such fee applications without prior approval of the Court.

XXI. RECEIVER’S BOND

IT IS FURTHER ORDERED that the Receiver shall file with the Clerk of this
Court a bond in the sum of ${ ]with sureties to be approved by the Court,
conditioned that the Receiver will well and truly perform the duties of the office and abide by
and perform all acts the Court directs. 28 U.S.C. § 754. The amount of the bond shall be set

at the hearing on preliminary injunction.

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XXII. IMMEDIATE ACCESS TO BUSINESS PREMISES AND RECORDS

IT IS FURTHER ORDERED that:

A. In order to allow Plaintiff and the Receiver to preserve Assets and evidence
relevant to this action and to expedite discovery, Plaintiff and the Receiver, and their
representatives, agents, contractors, and assistants, shall have immediate access to the
business premises and storage facilities, owned, controlled, or used by the Receivership
Entities. Such locations include, but are not limited to, 3700 Commerce Blvd., Kissimmee,
FL 32801, and any offsite location or commercial mailbox used by the Receivership Entities.
The Receiver may exclude Defendants, Receivership Entities, and their employees from the
business premises during the immediate access.

B. Plaintiff and the Receiver, and their representatives, agents, contractors, and
assistants, are authorized to remove Documents from the Receivership Entities’ premises in
order that they may be inspected, inventoried, and copied. Plaintiff shall return any removed
materials to the Receiver within five (5) business days of completing inventorying and
copying, or such time as is agreed upon by Plaintiff and the Receiver;

C. Plaintiff's access to the Receivership Entities’ documents pursuant to this
Section shall not provide grounds for any Defendant to object to any subsequent request for
documents served by Plaintiff.

D. Plaintiff and the Receiver, and their representatives, agents, contractors, and
assistants, are authorized to obtain the assistance of federal, state and local law enforcement
officers as they deem necessary to effect service and to implement peacefully the provisions

of this Order;

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E. If any Documents, computers, or electronic storage devices containing
information related to the business practices or finances of the Receivership Entities are at a
location other than those listed herein, including personal residence(s) of any Defendant,
then, immediately upon receiving notice of this order, Defendants and Receivership Entities
shall produce to the Receiver all such Documents, computers, and electronic storage devices,
along with any codes or passwords needed for access. In order to prevent the destruction of
computer data, upon service of this Order, any such computers or electronic storage devices
shall be powered down in the normal course of the operating system used on such devices
and shall not be powered up or used until produced for copying and inspection; and

F, If any communications or records of any Receivership Entity are stored with
an Electronic Data Host, such Entity shall, immediately upon receiving notice of this order,
provide the Receiver with the username, passwords, and any other login credential needed to
access the communications and records, and shall not attempt to access, or cause a third-party
to attempt to access, the communications or records.

XXII. DISTRIBUTION OF ORDER BY DEFENDANTS

IT IS FURTHER ORDERED that Defendants shall immediately provide a copy of
this Order to each affiliate, telemarketer, marketer, sales entity, successor, assign, member,
officer, director, employee, agent, independent contractor, client, attorney, spouse,
subsidiary, division, and representative of any Defendant, and shall, within ten (10) days
from the date of entry of this Order, and provide the FTC and the Receiver with a sworn
statement that this provision of the Order has been satisfied, which statement shall include

the names, physical addresses, phone number, and email addresses of each such person or

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entity who received a copy of the Order. Furthermore, Defendants shall not take any action
that would encourage officers, agents, members, directors, employees, salespersons,
independent contractors, attorneys, subsidiaries, affiliates, successors, assigns or other
persons or entities in active concert or participation with them to disregard this Order or
believe that they are not bound by its provisions.

XXIV. EXPEDITED DISCOVERY

IT IS FURTHER ORDERED that, notwithstanding the provisions of the Fed. R.
Civ. P. 26(d) and (f) and 30(a)(2)(A)(iii), and pursuant to Fed. R. Civ. P. 30(a), 34, and 45,
Plaintiff and the Receiver are granted leave, at any time after service of this Order, to conduct
limited expedited discovery for the purpose of discovering: (1) the nature, location, status,
and extent of Defendants’ Assets; (2) the nature, location, and extent of Defendants’ business
transactions and operations; (3) Documents reflecting Defendants’ business transactions and
operations; or (4) compliance with this Order. The limited expedited discovery set forth in
this Section shall proceed as follows:

A, Plaintiff and the Receiver may take the deposition of parties and non-parties.
Forty-eight (48) hours’ notice shall be sufficient notice for such depositions. The limitations
and conditions set forth in Rules 30(a){2)(B) and 31(a)(2)(B) of the Federal Rules of Civil
Procedure regarding subsequent depositions of an individual shall not apply to depositions
taken pursuant to this Section. Any such deposition taken pursuant to this Section shall not
be counted towards the deposition limit set forth in Rules 30(a)(2)(A) and 31(a)(2)(A) and

depositions may be taken by telephone or other remote electronic means;

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B. Plaintiff and the Receiver may serve upon parties requests for production of
Documents or inspection that require production or inspection within five (5) days of service,
provided, however, that three (3) days of notice shall be deemed sufficient for the production
of any such Documents that are maintained or stored only in an electronic format.

C. Plaintiff and the Receiver may serve upon parties interrogatories that require
response within five (5) days after Plaintiff serves such interrogatories;

D. The Plaintiff and the Receiver may serve subpoenas upon non-parties that
direct production or inspection within five (5) days of service.

E. Service of discovery upon a party to this action, taken pursuant to this Section,
shall be sufficient if made by facsimile, email, or by overnight delivery.

F. Any expedited discovery taken pursuant to this Section is in addition to, and is
not subject to, the limits on discovery set forth in the Federal Rules of Civil Procedure and
the Local Rules of this Court. The expedited discovery permitted by this Section does not
require a meeting or conference of the parties, pursuant to Rules 26(d) & (f) of the Federal
Rules of Civil Procedure.

G. The Parties are exempted from making initial disclosures under Fed. R. Civ.
P. 26(a)(1) until further order of this Court.

XXV. SERVICE OF THIS ORDER

IT IS FURTHER ORDERED that copies of this Order as well as the Motion for
Temporary Restraining Order and all other pleadings, Documents, and exhibits filed
contemporaneously with that Motion (other than the complaint and summons), may be

served by any means, including facsimile transmission, electronic mail or other electronic

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messaging, personal or overnight delivery, U.S. Mail or FedEx, by agents and employees of
Plaintiff, by any law enforcement agency, or by private process server, upon any Defendant
or any person (including any financial institution) that may have possession, custody or
control of any Asset or Document of any Defendant, or that may be subject to any provision
of this Order pursuant to Rule 65(d)(2) of the Federal Rules of Civil Procedure. For purposes
of this Section, service upon any branch, subsidiary, affiliate or office of any entity shall
effect service upon the entire entity.
XXVI. CORRESPONDENCE AND SERVICE ON THE FTC
IT IS FURTHER ORDERED that, for the purpose of this Order, all correspondence

and service of pleadings on the FTC shall be addressed to:

Barbara E. Bolton (bbolton@fic.gov)
Michael A. Boutros (mboutros@ftc.gov)

Federal Trade Commission

225 Peachtree Street, N.E., Suite 1500

Atlanta, GA 30303

(404) 656-1362 (Bolton phone)

(404) 656-1351 (Boutros phone)

(404) 656-1379 (fax) .

XXVIII. PRELIMINARY INJUNCTION HEARING

IT IS FURTHER ORDERED that, pursuant to Fed. R. Civ. P. 65(b), Defendants

shall appear before this Court on the 18th day of June, 2019, at 10:00 a.m., at the United
States Courthouse, Courtroom 4B, Orlando, Florida, to show cause, if there is any, why this
Court should not enter a preliminary injunction, pending final ruling on the Complaint
against Defendants, enjoining the violations of the law alleged in the Complaint, continuing

the freeze of their Assets, continuing the receivership, and imposing such additional relief as

may be appropriate.

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XXVIH. BRIEFS AND AFFIDAVITS CONCERNING PRELIMINARY INJUNCTION

IT IS FURTHER ORDERED that:

A. Defendants shall file with the Court and serve on Plaintiff's counsel any
answering pleadings, affidavits, motions, expert reports or declarations, or legal memoranda
no later than four (4) days prior to the order to show cause hearing scheduled pursuant to this
Order. Plaintiff may file responsive or supplemental pleadings, materials, affidavits, or
memoranda with the Court and serve the same on counsel for Defendants no later than one
(1) day prior to the order to show Cause hearing. Provided that such affidavits, pleadings,
motions, expert reports, declarations, legal memoranda or oppositions must be served by
personal or overnight delivery, facsimile or email, and be received by the other party or
parties no later than 5:00 p.m. (EST) on the appropriate dates set forth in this Section.

B. An evidentiary hearing on Plaintiff's request for a preliminary injunction is
not necessary unless Defendants demonstrate that they have, and intend to introduce,
evidence that raises a genuine and material factual issue. The question of whether this Court
should enter a preliminary injunction shall be resolved on the pleadings, declarations,
exhibits, and memoranda filed by, and oral argument of, the parties. Live testimony shall be
heard only on further order of this Court. Any motion to permit such testimony shall be filed
with the Court and served on counsel for the other parties at least five (5) days prior to the
preliminary injunction hearing in this matter. Such motion shall set forth the name, address,
and telephone number of each proposed witness, a detailed summary or affidavit revealing
the substance of each proposed witness’s expected testimony, and an explanation of why the

taking of live testimony would be helpful to this Court. Any papers opposing a timely

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motion to present live testimony or to present live testimony in response to another party’s
timely motion to present live testimony shall be filed with this Court and served on the other
parties at least three (3) days prior to the order to show cause hearing.

Provided, however, that service shall be performed by personal or overnight delivery,
facsimile or email, and Documents shall be delivered so that they shall be received by the

other parties no later than 5:00 p.m. (EST) on the appropriate dates provided in this Section.

XXIX. DURATION OF THE ORDER
IT IS FURTHER ORDERED that this Order shall expire fourteen (14) days from
the date of entry noted below, unless within such time, the Order is extended for an
additional period pursuant to Fed. R. Civ. P. 65(b)(2).
XXX. RETENTION OF JURISDICTION
IT IS FURTHER ORDERED that this Court shall retain jurisdiction of this matter
for all purposes.
XXXI. CONCLUSION
Accordingly, itis ORDERED AND ADJUDGED as follows:
1. Plaintiff's Ex Parte Motion for a Temporary Restraining Order with Asset Freeze,
Appointment of a Receiver, Other Equitable Relief, and an Order to Show Cause
Why a Preliminary Injunction Should Not Issue is GRANTED.

DONE AND ORDERED in Orlando, Florida on June 4, 2019.

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UNITED STATES@ISTRICT JUDGE

Copies furnished to:

Counsel of Record

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